Case 2:12-cv-03047-PM-KK Document 1

Dec 6, AOI A

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Vs.

Firestone Polymers

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Sulphur, Mh W665,

@37) gga-la)|

Filed 12/07/12 Page 1of1PagelD#: 1

U. & DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
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